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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


JASON SCHAUMLEFFEL,

                      Plaintiff,

                                                                 Civil Action 2:17-cv-463
       v.                                                        Judge George C. Smith
                                                                 Magistrate Judge Jolson
MUSKINGUM UNIVERSITY, et al.,

                      Defendants.


                                           ORDER

       This matter is before the Court on Defendant and Counterclaim-Plaintiff Mackenzie

Dickerson’s Motion to Hold a Scheduling Conference and Reopen Discovery. (Doc. 73). The

parties are hereby ORDERED to meet and confer and submit a proposed scheduling order to the

Court no later than March 11, 2019. Upon receipt the Undersigned will conclude whether a status

conference is necessary.



       IT IS SO ORDERED.



Date: March 4, 2019                                /s/ Kimberly A. Jolson
                                                   KIMBERLY A. JOLSON
                                                   UNITED STATES MAGISTRATE JUDGE
